Case 1:19-cv-00622-CCC Document 1-15 Filed 04/10/19 Page 1 of 19

From: Linda A. Kerns

To: tgates@p2.90y

Subject: Correspondence attached

Date: Wednesday, March 20, 2019 3:55:47 PM

Attachments:

 

 

Timothy: pursuant to the voicemails we exchanged, | attach correspondence. | look forward to
your reply.

. Linda A. Kerns

Law Offices of Linda A. Kerns, LLC | Admitted in PA & NJ | LLMin Taxation
www lindakernsiaw.com | lindaker blogspot.com | Linked. In Profile
1420 Locust Street, Suite 200 | Philadetphia, PA 19462

PA Tel: 245.731.1400 | Fax: 215.701.4454 :

Visit my Hightail Uplink page to securely send me larger files: bttos /Awww, hig

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LAW OFFICES OF LINDA A, KERNS, LLG

1420 Locust STREET (PA TEL} 215,7381.1400
Suite 200 {FAX} 215.701.4154

PHILADELPHIA, PA 19102 WWW. LINDAKERNGLAW,.COM

LUNDA A. KERNS (PA, Niu/, LLM IN TAXATION)

March 20, 2019

VIA EMAIL to tgates@pa.gov

Timothy E. Gates, Esquire

Chief Counsel, Department of State
Commonwealth of Pennsylvania
306 North Office Building
Harrisburg, PA 17120

Re: Public Interest Legal Foundation

Dear Mr. Gates:

As you know, I represent the Public Interest Legal Foundation, a 501(c)(8)
entity focused on election integrity and that works to protect the rights of all voters,
including Pennsylvanians.

My client has been attempting to serve a Notice of Viclation of the National
Voter Registration Act upon the Acting Secretary of State. I attach the Notice and
related documents. I have listed the attachments below.

After I reached out to you, I received a voicemail wherein you stated that you
would confirm, in writing, that the Acting Secretary of State of the Commonwealth
of Pennsylvania actually received the attached documents.

I ask that you sign the attached Certification of Service and Receipt and
return to me by both electronic mail and regular mail so that I have your original
signature.

I look forward to your timely response.

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LAW OFFICES OF LINDA A. KERNS, LLG PaGE 2

Thank you for your service to the Commonwealth for and on behalf of the
citizens of Pennsylvania and Pennsylvania voters.

Very truly yours,

Linda A. Korn

LINDA A. KERNS

LAK
Attachments:

Certification of Service and Receipt to be executed

March 1, 2019 Notice of Violation of National Voter Registration Act

December 20, 2017 letter authored by Jonathan Marks, Commissioner
December 4, 2017 NVRA public disclosure request follow-up

October 23, 2017 NVRA public disclosure request

October 30, 2017 letter authored by Rebecca A. Furhman, Agency Open Records
Officer So

cc: Public Interest Legal Foundation

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Certification of Service and Receipt

I, Timothy E. Gates, Esquire, Chief Counsel, Department of State, acknowledge
that the Acting Secretary of the State of the Commonwealth of Pennsylvania, Kathy
Boockvar, actually received the Notice of Violation of the National Voter Rights
Act dated March 1, 2019 along with the enclosures ( December 20, 2017 letter
authored by Jonathan Marks, Commissioner, December 4, 2017 NVRA public
disclosure request follow-up, October 23, 2017 NVRA public disclosure request, and
October 30, 2017 letter authored by Rebecca A. Furhman, Agency Open Records

Officer on March , 2019.

IT understand that false statements herein are made subject to the penalties relating

to unsworn falsification to authorities.

 

Timothy E. Gates, Esquire

 

Date:

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PUBLIC INTEREST

——— LEGAL FOUNDATION ———

VIA HAND DELIVERY
VIA EMAIL

VIA FASCIMILE

VIA CERTIFIED MAIL
VIA COUNSEL

March 1, 2019

Kathy Boockvar

Acting Secretary of the Commonwealth

302 North Office Building, 401 North Street
Harrisburg, PA 17120

Fax: (717) 787-1734

Jonathan M. Marks

Commissioner, Bureau of Commissions, Elections and Legislation
Pennsylvania Department of State

210 North Office Building, 401 North Street

Harrisburg, PA 17120

Email: Ra-st-sure@pa.gov, ST-VOTERREG@pa. gov, RA-BCEL(@pa.vov
Fax: (717) 705-0721

 

RE: Violation of National Voter Registration Act
Dear Secretary Boockvar and Commissioner Marks:

On October 23, 2017, the Public Interest Legal Foundation (the “Foundation”) contacted
Commissioner Marks to request inspection of voter list maintenance records related to
registration and voting by non-United States citizens. The Foundation’s request was made
pursuant to the federal records inspection rights of the National Voter Registration Act of 1993
(SNVRA”), 52 U.S.C. §§ 20501 ef seg., which requires each state to “make available for public
inspection and, where available, photocopying at a reasonable cost, all records concerning the
implementation of programs and activities conducted for the purpose of ensuring the accuracy
and currency of official lists of eligible voters.”

On December 4, 2017, the Foundation wrote to Commissioner Marks, again, to ascertain the
status of its request and to clarify the scope of the requests records, Copies of the Foundation’s
records requests are appended to this letter.

The Foundation has spent considerable time and money attempting to inspect the requested
records, including two visits to the Bureau of Commissions, Elections and Legislation. Each
time, the Department of State denied the Foundation’s right to inspect the requested records.

On December 20, 2017, Kathleen Kotula, Deputy Chief Counsel for the Department of State,
emailed a letter to the Foundation from Commissioner Marks formally denying the Foundation’s

32 E. Washington Street, Suite 1675, Indianapolis, Indiana 46204
Telephone: 317.203.5599 Fax: 888.815.5641 PublicinterestLegal.org
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records requests. In his letter Commissioner Marks states, “[T]he Department does not agree that
the NVRA entitles you to access the records you seek.” A copy of that denial letter is appended
to this letter.

As you are aware, the Foundation filed a federal action in the Middle District of Pennsylvania on
February 26, 2018 to enforce its rights under the NVRA. In a written opinion dated February 26,
2019, the court explained that the Foundation’s pleaded informational injury is sufficient to
establish Article III standing under the Constitution of the United States. Docket Entry No. 33 at
7-9, Public Interest Legal Foundation v. Boockvar, No. 1:18-cv-463-CCC (MLD. Pa., filed Feb.
26, 2018). The court further explained that the Foundation’s injuries are within the “zone of
interests” protected by the NVRA and rejected the Department of State’s argument that the
Foundation has not been “aggrieved” within the meaning of the NVRA. /d. at 9-10.

According to the court, the only thing lacking from the Foundation’s Complaint was the mere
allegation that the Secretary of the Commonwealth received notice of the NVRA violation
described supra.

Acting Secretary Boockvar—chief election official for the Commonwealth of Pennsylvania
~is hereby notified that the Pennsylvania Department of State, the Bureau of

Commissions, Elections and Legislation, Commissioner Marks, and any and all persons
acting on their behalf are violating the NVRA by refusing to allow the Foundation to
inspect and photocopy the requested records.

Jonathan Marks—-Commissioner of the Bureau of Commissions, Elections and

Legislation—is hereby notified of the same.
The NVRA violations are ongoing.

This letter serves as statutory notice, required by 52 U.S.C. § 20510(b) prior to the
commencement of any action in order to enforce provisions of 52 U.S.C. § 20507(i) for failure to
grant inspection of voter list maintenance records. 52 U.S.C. § 20507(i)(1).

It has now been 494 days since the Foundation first asked for the opportunity to inspect public
list maintenance records in the possession of the Department of State.

A special election for federal office in Pennsylvania is scheduled for May 21, 2019.' For NVRA
violations occurring with 120 of an election for federal office, the curative period is 20 days. 52
U.S.C. § 20510(b)(2). If the NVRA violation described herein is not corrected within 20

days, the Foundation will—again—pursue federal litigation against all offending parties, as
permitted by the NVRA’s private-right-of-action provision. 52 U.S.C. § 20510(b), For any

lawsuits initiated by a private party, an award of attorney’s fees, expenses, and costs incurred are
available under 52 U.S.C. § 20510{c).

 

Please direct all future correspondence to njchnson@publicinterestlegal org.

 

1 https://www.dos.pa.gov/VotingElections/CandidatesCommittees/RunningforOffice/Pages/SpecialElections.aspx

2

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Sincerely,

Noel Johnson

Litigation Counsel

Public Interest Legal Foundation
njohnson@publicimterestlegal_ org

cc.

Timothy Gates

Kathleen Kotula

Office of Chief Counsel

Pennsylvania Department of State

306 North Office Building, 401 North Street
Harrisburg, PA 17120

Legal Office

Pennsylvania Department of State
Penn Center, 2601 N. 3rd Street
Harrisburg, PA 17110

Josh Shapiro

Attorney General

Pennsylvania Office of Attorney General
16th Floor, Strawberry Square
Harrisburg, PA 17120

Daniel T. Brier

Donna A. Walsh

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503

 

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Commonwealth of Pennsylvania
Departrnent of State
Bureau Commissions, Elections and Legislation
401 North Street
_ > Room 210 North Office Building
Harrisburg, PA 17120

Jonathan Marks, oo Telephone: (717) 787-5280
Commissioner Fax: (717) 705-0721 .

December 20, 2017

Via Email and First-Class Mail
Noel Johnson, Esq.

Public Interest Legal Foundation
32 E. Washington Street

Suite 1675

Indianapolis, IN 46204

niohnson@)PublicinterestLegal org

Re: NVRA Request
Dear Mr. Johnson:

Thank you for your letter dated December 4, 2017, in which you request records
from the Pennsylvania Department of State (Department) pursuant to the National Voter
Registration Act of 1993 (NVRA). While we can appreciate your interest, the
Department does not agree that the NVRA entitles you to access the records you seek. At
its core, Section 20507 of the NVRA requires reasonable efforts to remove voters
ineligible by reason of death or a change of residence. 52 U.S.C. § 20507(a)(4). There is
nothing in that section that specifically relates to the removal of non-citizens. Therefore,
it is not reasonable to read the public disclosure provision in Section 20507) as relating
to anything but the mandatory removal programs set forth in Section 20507(a)(4).

Further, even assuming arguendo that the NVRA would apply to a systematic
removal program regarding non-citizens, the Department does not currently have such a
program in place. As such, no responsive documents exist.

Maintaining the accuracy and integrity of Pennsylvania’s voter registration
database is extremely important to the Department and we are committed to using reliable
tools that advance the goals of increased accuracy and integrity. The solution we recently
implemented in partnership with PennDOT to prevent non-citizens from entering the
Motor Voter workflow advances these goals, and does so without the risk of
disenfranchisement. As we stated at the hearings before the Pennsylvania General

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Noel Johnson, Esq.
December 20, 2017
Page 2

Assembly, the Department is actively reviewing this matter but we must proceed in a
responsible manner to ensure that no eligible voters are disenfranchised in the process.

Thank you again for your letter.

    

| Sincerely, oe

. J Cee
‘Bureau of Commissions, Elections and

Legislation
Pennsylvania Department of State

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PUBLIC INTEREST

—————- LEGAL FOUNDATION ————
VIA EMAIL, FACSIMILE
December 4, 2017

Mr. Jonathan M. Marks

Commissioner, Bureau of Commissions, Elections and Legislation
Pennsylvania Department of State

210 North Office Building, 401 North Street

Harrisburg, PA 17120

Email: Ra-st-sure@ipa.gov, ST-VOTERREG@pa.sov, RA-BCEL@pa.gov
Fax-(717) 705-0721

RE: NVRA public disclosure request follow-up
Dear Disclosure Officer(s):

On October 23, 2017, I submitted to your office four requests pursuant to the National Voter
Registration Act of 1993 (NVRA), 52 U.S.C. § 20501 ef seg., which requires your office to make
available for public inspection “all records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of official lists of
eligible voters.” 52 U.S.C. § 20507(i).

On October 25, 2017, I visited your office to inspect the requested records. Your office did not
make the requested records available for inspection.

On October 30, 2017, your office acknowledged the requests were being processed pursuant to
the NVRA and asked that an additional 30 days be given to ensure cooperation and compliance.
Your internally-set window to respond lapsed without update on November 29, 2017.

In the interest of efficient and thorough disclosure, |] offer the following guidelines for the
documents I hope are furnished for inspection or, in the alternative, are replicated.

e With regard to Request 1(a), documents sought would most recently include results (full
or interim) from an aforementioned official “review” of voter data compared against
PennDOT’s database of customers to identify voters with matching driver profiles
containing noncitizen designations. Given the public assertions that such actions were
underway according to news media reports and testimony before the Pennsylvania House
State Government Committee on October 25, PILF reasonably expects that some amount
of records would be available for inspection as of this writing. This request seeks access
to any combination of: metadata summaries of the “review’s” findings; detailed listings
of flagged voters for citizenship eligibility defects; records indicating maintenance
actions undertaken as a result of the “review”; detailed voter profiles for each flagged
voter within SURE; comprehensive voting histories with political party
registration/affiliation for the same; and communications/written guidelines for

32 E. Washington Street, Suite 1675, Indianapolis, Indiana 46204
Telephone: 317.203.5599 Fax: 888.815.5641 PublicinterestLegal.org
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methodology of said “review”.

® Request 2 seeks all available documents per each former voter that self-reported their
citizenship ineligibility by any method of notification. My offer stands to furnish
examples of similar records obtained via NVRA request from another state. The same
examples can be provided for Request 3.

* Request 4 seeks all non-exempt records of communication with law enforcement related
to Requests 1 ~ 3.

A representative of the Public Interest Legal Foundation will be visiting your office on
December 6, 2017 to inspect the requested list maintenance records.

If you wish to dispense with a public inspection and provide copies of these records instead,
please send them to following address:

32 E. Washington Street
Suite 1675
Indianapolis, IN 46204

This is your first notice that if you fail to make these records available for public inspection, you
will be in violation of the NVRA and subject to an action to enforce the public records
provisions of the NVRA. The statute provides for an award of attorney’s fees.

Should you need to contact me regarding this request, please contact me via letter at the above
address, or via email at niohnson@publicinterestlegal.org.

Thank you for your service on this matter,

Sincerely,

Noel Johnson

Litigation Counsel

Public Interest Legal Foundation
Telephone (317) 203-5599
niohnson@opublicinterestlegal ore

Enclosure: October 30 letter RE: Right-to-Know Law Request No. 2017-474

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ORIGINAL REQUEST
VIA EMAIL, FACSIMILE

October 23, 2017

Mr. Jonathan M, Marks

Commissioner, Bureau of Commissions, Elections and Legislation
Pennsylvania Department of State

210 North Office Building, 401 North Street

Harrisburg, PA 17120

Email: Ra-st-sure@ipa gov, ST-VOTERREGOpa. cov, RA-BCEL@pa gov
Fax: (717) 705-0721

RE: NVRA publie disclosure request
Dear Disclosure Officer(s):

I am writing to request inspection or copies of records related to your office’s voter list
maintenance obligations under the National Voter Registration Act of 1993 (NVRA).

The National Voter Registration Act of 1993, 52 U.S.C. § 20501 et seg., requires your office to
make available for public inspection “ail records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of official lists of

eligible voters.” 52 U.S.C. § 20507(i).

Pursuant to Section 20507(i) of NVRA, I request that your office reproduce or provide the
opportunity to inspect the following records contained within SURE:

1. Documents regarding all registrants who were identified as potentially not satisfying the
citizenship requirements for registration from any official information source, including
information obtained from the various agencies within the U.S. Department of Homeland
Security and the Pennsylvania Department of Transportation since January 1, 2006. This
request extends to all documents that provide the name of the registrant, the voting
history of such registrant, the nature and content of any notice sent to the registrant,
including the date of the notice, the response (if any) of the registrant, and actions taken
regarding the registrant’s registration (if any) and the date of the action. This request
extends to electronic records capable of compilation.

a. This request includes all voter records that were referenced in recent news media
reports regarding individuals improperly exposed to registration prompts due to a
“glitch” in PennDOT’s Motor Voter compliance system. At least one news report
claims that “a Pennsylvania Department of State review is underway.”' I seek all

 

' The Philadelphia Inquirer; Glitch let ineligible immigrants vote in Philly elections, officials say (September 20,
2017), http://www philly.com/philly/news/politics/city/philly-voter-fraud-trump-immicrants-registration-
commiisstoners-penndot-20170920.huml :

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voter records contained in this review.

2. All documents and records of communication received or maintained by your office from

registered voters, legal counsel, claimed relatives, or other agents since January 1, 2006
requesting a removal or cancellation from the voter roll for any reason related to non-U.S.
citizenship/ineligibility. Please include any official records indicating maintenance
actions undertaken thereafter.

All documents and records of communication received or maintained by your office from
jury selection officials—state and federal--since January 1, 2006 referencing individuals
who claimed to be non-U.S. citizens when attempting to avoid serving a duty call. This
request seeks copies of the official referrals and documents indicating where your office
or local registrars matched a claim of noncitizenship to an existing registered voter and
extends to the communications and maintenance actions taken as a result that were
memorialized in any written form.

All communications regarding list maintenance activities relating to #1 through 3 above
to appropriate local prosecutors, Pennsylvania Attorney General, Pennsylvania State
Police, any other state law enforcement agencies, the United States Attorney’s office, or
the Federal Bureau of Investigation.

Understanding that federal file retention laws may impact some disclosures, an optima! grouping
of documents presented per registered voter disclosed would contain the following:

The completed voter application form (redacted where necessary to prevent disclosures
of claimed Social Security number and signature);

Referral documents/transmissions for new or updated voter registration applications
provided by state agencies charged with National Voter Registration Act (Motor Voter)
duties;

Records indicating the “voter profile” or “voter view” or similar feature provided within
the Statewide Uniform Registry of Electors (SURE) which details all information kept
per voter, to include but is not limited to:
© Full name on file (including previous names)
Date of birth
Voter ID number
Voter registration date (including previous dates of registration)
Date of last maintenance/update action
Reason code(s) for previous maintenance action(s)
County of registration
Detailed address information history (residential and mailing)
Political party designation history (if claimed/recorded)
Registration method history (e.g. self, NVRA agency transaction, third-party, etc.)
Assigned voting districts history
Election participation history in full

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o All internal memoranda stored within each “profile”

* All letters, postcards, and other mailings sent or maintained by your office to the voter in
question with notations for types of postage or method of delivery indicated where
possible;

e All letters, emails, logged phone calls, documents, and other communications from the
voter in question maintained within SURE—including those communications from legal
counsel or claimed relatives on their behalf;

e All documents your office may receive or maintain from federal entities to include but
are not limited to the U.S, Department of Homeland Security/USCIS detailing inquiries
regarding registered voters;

e All documents and communications contained in SURE between the registered voter in
question and county registration officials with respect to pending immigration matters;
and

e Any documents contained in SURE that were sent to the voter to require that an
affirmation of citizenship or noncitizenship be given in writing with responses included,
where applicable.

Should your office require any examples of the above data collected via NVRA request in other
jurisdictions, I would be happy to supply them in electronic format.

If you would like to produce these requested documents in paper or digital form, I can dispense
with the need to visit your office for inspection. I will be in Harrisburg on October 25, 2017 and
would be available for a brief office visit to take delivery of responsive documents or further
discuss this request, if necessary. My contact information is provided below.

Thank you for your service on this matter.

Sincerely,

Noel Johnson

Litigation Counsel

Public Interest Legal Foundation
Telephone (317) 203-5599
njohnson(@publicinterestlegal org

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Johnston Street, Suite
COMMONWEALTH OF PENNSYLVANIA
DEPARTMENT OF STATE
HARRISBURG, PENNSYLVANIA
“47720

Right-to-Know Law Office
Room 306, North Office Building
401 North Street

Harrisburg, PA 17120-0500

Fax: 717-214-9899

Mailing Date: October 30, 2017

Noel Johnson
njohnson@oublicinterestlecal.org

RE: Right-to-Know Law Request No. 2017-474
Dear Mr. Johnson:

On October 23, 2017, the Department of State was forwarded your request under the
National Voter Registration Act of 1993 (NVRA) for response under the Pennsylvania
Right-to-Know Law, 65 P.S. §§ 67.101, et seq. (RTKL). In your request, you asked for:

1. Documents regarding ail registrants who were identified as potentially not satisfying
the citizenship requirements for registration from any official information source,
including information obtained from the various agencies within the U.S. Department
of Homeland Security and the Pennsylvania Department of Transportation since
January t, 2006. This request extends to all documents that provide the name of the
registrant, the voting history of such registrant, the nature and content of any notice
sent to the registrant, including the date of the notice, the response (if any) of the
registrant, and actions taken regarding the registrant’s registration (if any) and the
date of the action. This request extends to electronic records capable of compilation.

a. This request includes all voter records that were referenced in recent news
media reports regarding individuals improperly exposed to registration
prompts due to a “glitch” in PennDOT’s Motor Voter compliance system.
At least one news report claims that “a Pennsylvania Department of State
review is underway.”1 I seek all voter records contained in this review.

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2. All documents and records of communication received or maintained by your office
from registered voters, legal counsel, claimed relatives, or other agerits since January
1, 2006 requesting a removal or canceflation from the voter rol! for any reason related
to non-U.S. citizenship/meligibility. Please include any official records indicating
maintenance actions undertaken thereafter.

3. All documents and records of communication received or maintained by your office
from jury selection officials—state and federal--since January 1, 2006 referencing
individuals who claimed to be non-U.S. citizens when attempting to avoid serving a
duty call. This request seeks copies of the official referrals and documents indicating
where your office or local registrars matched a claim of noncitizenship to an existing
registered voter and extends to the communications and maintenance actions taken as
a result that were memorialized in any writien form.

4. All communications regarding list maintenance activities relating to #1 through 3
above to appropriate local prosecutors, Pennsyivania Attorney General, Pennsylvania
State Police, any other state law enforcement agencies, the United States Attorney’s
office, or the Federal Bureau of Investigation.

Under the RTEL, a written response to your request is due on or before October 30,
2017.

This is an interim response, not a final response, to your request. Under the provisions of
65 PS. §67.902(b)(2), you are hereby notified that your request is being reviewed and the
Department of State will require up to an additional 30 days, i.e., Novernber 29, 2017, in
which to provide a final written response to your request.

The extent and nature of your request precludes a response within the five-day time
period. Due to this reason, the total for the estimated or actual fees that will be owed
when the records become available will be included in our subsequent response.

Many of the records that might possibly be included in your request may also be exempt
under section 708(>) of the RTKL. The Department of State reserves the right to review
and assert any such exemptions.

Should you have any questions, please feel free to contact me.

Respectfully,

fabated GudinmerD
Rebecca A. Fuhrman

Agency Open Records Officer

306 North Office Building

401 North Street

Harrisburg, PA 17120

717-783-3585

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VIA EMAIL, FACSIMILE
October 23, 2017

Mr. Jonathan M. Marks

Commissioner, Bureau of Commissions, Elections and Legislation
Pennsylvania Department of State

210 North Office Building, 401 North Street

Harrisburg, PA 17120

Email: Ra-st-sure@pa.cov, ST-VOTERREG@pa. gov, RA-BCEL@pa.cov
Fax: (717) 705-0721

RE: NVRA public disclosure request
Dear Disclosure Officer(s):

I am writing to request inspection or copies of records related to your office’s voter list
maintenance obligations under the National Voter Registration Act of 1993 (NVRA).

The National Voter Registration Act of 1993, 52 U.S.C. § 20501 et seg., requires your office to
make available for public inspection “all records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of official lists of
eligible voters.” 52 U.S.C. § 20507(i).

Pursuant to Section 20507(i) of NVRA, I request that your office reproduce or provide the
opportunity to inspect the following records contained within SURE:

1. Documents regarding all registrants who were identified as potentially not satisfying the
citizenship requirements for registration from any official information source, including
information obtained from the various agencies within the U.S. Department of Homeland
Security and the Pennsylvania Department of Transportation since January 1, 2006. This
request extends to all documents that provide the name of the registrant, the voting
history of such registrant, the nature and content of any notice sent to the registrant,
including the date of the notice, the response (if any) of the registrant, and actions taken
regarding the registrant’s registration (if any) and the date of the action. This request
extends to electronic records capable of compilation.

a. . This request includes all voter records that were referenced in recent news media
reports regarding individuals improperly exposed to registration prompts due to a
“glitch” in PennDOT’s Motor Voter compliance system. At least one news report
claims that “a Pennsylvania Department of State review is underway.”! I seek all
voter records contained in this review.

 

' The Philadelphia Inquirer; Glitch let ineligible immigrants vote in Philly elections, officials say (September 20,
2017}, http://www_philly.com/philly/news/politics/citv/philly-voter-fraud-trump-immigrants-registration-
commissioners-penndot-20170920 him] ot

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2. All documents and records of communication received or maintained by your office from

registered voters, legal counsel, claimed relatives, or other agents since January 1, 2006
requesting a removal or cancellation from the voter roll for any reason related to non-U.S.
citizenship/ineligibility. Please include any official records indicating maintenance
actions undertaken thereafter.

All documents and records of communication received or maintained by your office from
jury selection officials—state and federal--since January 1, 2006 referencing individuals
who claimed to be non-US. citizens when attempting to avoid serving a duty call. This
request seeks copies of the official referrals and documents indicating where your office
or local registrars matched a claim of noncitizenship to an existing registered voter and
extends to the communications and maintenance actions taken as a result that were
memorialized in any written form.

All communications regarding list maintenance activities relating to #1 through 3 above
to appropriate local prosecutors, Pennsylvania Attorney General, Pennsylvania State
Police, any other state law enforcement agencies, the United States Attorney’s office, or
the Federal Bureau of Investigation.

Understanding that federal file retention laws may impact some disclosures, an optimal grouping
of documents presented per registered voter disclosed would contain the following:

The completed voter application form (redacted where necessary to prevent disclosures
of claimed Social Security number and signature);

Referral documents/transmissions for new or updated voter registration applications
provided by state agencies charged with National Voter Registration Act (Motor Voter)
duties;

Records indicating the “voter profile” or “voter view” or similar feature provided within
the Statewide Uniform Registry of Electors (SURE) which details all information kept

. per voter, to include but is not limited to:

© Fullname on file (including previous names)

Date of birth

Voter ID number

Voter registration date (including previous dates of registration)

Date of last maintenance/update action

Reason code(s) for previous maintenance action(s)

County of registration

Detailed address information history (residential and matling)

Political party designation history (if claimed/recorded)

Registration method history (e.g. self, NVRA agency transaction, third-party, etc.)
Assigned voting districts history -
Election participation history in full

All internal memoranda stored within each “profile”

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e All letters, postcards, and other mailings sent or maintained by your office to the voter in
question with notations for types of postage or method of delivery indicated where
possible;

e All letters, emails, logged phone calls, documents, and other communications from the
voter in question maintained within SURE—including those communications from legal
counsel or claimed relatives on their behalf;

e All documents your office may receive or maintain from federal entities to include but
are not limited to the U.S. Department of Homeland Security/USCIS detailing inquiries
regarding registered voters,

e All documents and communications contained in SURE between the registered voter in
question and county registration officials with respect to pending immigration matters;
and

e Any documents contained in SURE that were sent to the voter to require that an
affirmation of citizenship or noncitizenship be given in writing with responses included,
where applicable.

Should your office require any examples of the above data collected via NVRA request in other
jurisdictions, 1 would be happy to supply them in electronic format.

If you would like to produce these requested documents in paper or digital form, I can dispense
with the need to visit your office for inspection. I will be in Harrisburg on October 25, 2017 and
would be available for a brief office visit to take delivery of responsive documents or further
discuss this request, if necessary. My contact information is provided below.

Thank you for your service on this matter.

Sincerely,

Noel Johnson

Litigation Counsel

Public Interest Legal Foundation
Telephone (317) 203-5599
njohnson(@publicinterestlegal org

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